                            Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 1 of 45
B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                  SOUTHERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                        HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Oconnor, Jerome                                                                                      Oconnor, Olga Ortiz

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-8853                                                                than one, state all):     xxx-xx-4638
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
17519 Wolf Hollow                                                                                    17519 Wolf Hollow
Houston, TX                                                                                          Houston, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            77084                                                                                           77084
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Harris                                                                                               Harris
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.3.0.4, ID 0887797035)
                           Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 2 of 45
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Jerome Oconnor
                                                                                                                  Olga Ortiz Oconnor
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION                                               11-32314                                       3/17/2011
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X /s/ Phillip H. Trueba                                                 11/16/2015
                                                                                                 Phillip H. Trueba                                                     Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.3.0.4, ID 0887797035)
                           Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 3 of 45
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Jerome Oconnor
                                                                                                                    Olga Ortiz Oconnor
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X /s/ Jerome Oconnor
      Jerome Oconnor
                                                                                             X
       /s/ Olga Ortiz Oconnor                                                                    (Signature of Foreign Representative)
 X Olga Ortiz Oconnor
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     11/16/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X /s/ Phillip H. Trueba                                                                     defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Phillip H. Trueba                                Bar No. 24005582                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Phillip Henry Trueba
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 2425 West Loop South, Ste 200                                                               given the debtor notice of the maximum amount before preparing any document
 Houston, Texas 77027                                                                        for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (713) 297-9103
 Phone No.______________________        (713) 297-9104
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     11/16/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.3.0.4, ID 0887797035)
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 4 of 45
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   Jerome Oconnor                                                                  Case No.
         Olga Ortiz Oconnor                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me.    Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 5 of 45
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   Jerome Oconnor                                                               Case No.
         Olga Ortiz Oconnor                                                                                (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Jerome Oconnor
                       Jerome Oconnor

Date:       11/16/2015
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 6 of 45
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   Jerome Oconnor                                                                  Case No.
         Olga Ortiz Oconnor                                                                                   (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me.    Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 7 of 45
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   Jerome Oconnor                                                               Case No.
         Olga Ortiz Oconnor                                                                                (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Olga Ortiz Oconnor
                       Olga Ortiz Oconnor

Date:       11/16/2015
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 8 of 45
B6A (Official Form 6A) (12/07)



In re Jerome Oconnor                                                        Case No.
      Olga Ortiz Oconnor                                                                                          (if known)



                                           SCHEDULE A - REAL PROPERTY


                                                                                                               Current Value




                                                                                     Husband, Wife, Joint,
                                                                                                                of Debtor's
                   Description and                         Nature of Debtor's




                                                                                       or Community
                                                                                                                 Interest in
                     Location of                          Interest in Property
                                                                                                             Property, Without    Amount Of
                      Property                                                                                                   Secured Claim
                                                                                                              Deducting Any
                                                                                                              Secured Claim
                                                                                                               or Exemption


 17519 Wolf Hollow Dr, Houston, TX 77084             Fee Simple                         C                         $94,000.00        $63,000.00

 LT 7 BLK 14
 NORTHGLEN SEC 1




                                                                                 Total:                           $94,000.00
                                                                                 (Report also on Summary of Schedules)
                       Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 9 of 45
B6B (Official Form 6B) (12/07)




In re Jerome Oconnor                                                                  Case No.
      Olga Ortiz Oconnor                                                                           (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                        Husband, Wife, Joint,
                                                                                                                                Current Value of
                                                                                                                                Debtor's Interest




                                                                                                          or Community
                                                                                                                                   in Property,

             Type of Property             None              Description and Location of Property
                                                                                                                                Without Deducting
                                                                                                                                  any Secured
                                                                                                                                     Claim or
                                                                                                                                    Exemption

1. Cash on hand.                                 CASH ON HAND DATE OF FILING                                  C                          $40.00



2. Checking, savings or other finan-             WOODFOREST NATIONAL BANK                                     C                         $155.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              SEE ITEMIZED LISTING OF HOUSEHOLD GOODS AND                  C                       $1,852.00
including audio, video and computer              FURNISHINGS ATTACHED HERETO AND
equipment.                                       INCORPORATED HEREIN BY REFERENCE AS EXHIBIT
                                                 "A"



5. Books; pictures and other art                 MISCELLANEOUS BOOKS AND PICTURES                             C                          $15.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              PANTS, SHIRTS, SHOES,DRESSES, ETC.                           C                          $95.00


7. Furs and jewelry.                             COSTUME JEWELRY                                              C                          $30.00

                                                 MINK COAT [BOUGHT IN NEW YORK A LONG TIME AGO,               C                          $50.00
                                                 PAID $150



8. Firearms and sports, photo-            X
graphic, and other hobby equipment.
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 10 of 45
B6B (Official Form 6B) (12/07) -- Cont.




In re Jerome Oconnor                                                            Case No.
      Olga Ortiz Oconnor                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                  Husband, Wife, Joint,
                                                                                                                          Current Value of
                                                                                                                          Debtor's Interest




                                                                                                    or Community
                                                                                                                             in Property,

             Type of Property              None       Description and Location of Property
                                                                                                                          Without Deducting
                                                                                                                            any Secured
                                                                                                                               Claim or
                                                                                                                              Exemption


9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 11 of 45
B6B (Official Form 6B) (12/07) -- Cont.




In re Jerome Oconnor                                                             Case No.
      Olga Ortiz Oconnor                                                                      (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                   Husband, Wife, Joint,
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest




                                                                                                     or Community
                                                                                                                              in Property,

             Type of Property               None       Description and Location of Property
                                                                                                                           Without Deducting
                                                                                                                             any Secured
                                                                                                                                Claim or
                                                                                                                               Exemption


18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 12 of 45
B6B (Official Form 6B) (12/07) -- Cont.




In re Jerome Oconnor                                                                          Case No.
      Olga Ortiz Oconnor                                                                                             (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


25. Automobiles, trucks, trailers,                   DODGE NEON 2001                                                            C                       $1,550.00
and other vehicles and accessories.

26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                            $3,787.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 13 of 45
B6C (Official Form 6C) (4/13)



In re Jerome Oconnor                                                                           Case No.
      Olga Ortiz Oconnor                                                                                            (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 17519 Wolf Hollow Dr, Houston, TX 77084                 11 U.S.C. § 522(d)(1)                                 $31,000.00              $94,000.00

 LT 7 BLK 14
 NORTHGLEN SEC 1

 CASH ON HAND DATE OF FILING                             11 U.S.C. § 522(d)(5)                                      $40.00                  $40.00

 WOODFOREST NATIONAL BANK                                11 U.S.C. § 522(d)(5)                                    $155.00                 $155.00

 SEE ITEMIZED LISTING OF HOUSEHOLD                       11 U.S.C. § 522(d)(3)                                  $1,852.00               $1,852.00
 GOODS AND FURNISHINGS ATTACHED
 HERETO AND INCORPORATED HEREIN BY
 REFERENCE AS EXHIBIT "A"

 MISCELLANEOUS BOOKS AND PICTURES                        11 U.S.C. § 522(d)(3)                                      $15.00                  $15.00

 PANTS, SHIRTS, SHOES,DRESSES, ETC.                      11 U.S.C. § 522(d)(3)                                      $95.00                  $95.00

 COSTUME JEWELRY                                         11 U.S.C. § 522(d)(4)                                      $30.00                  $30.00

 MINK COAT [BOUGHT IN NEW YORK A LONG                    11 U.S.C. § 522(d)(4)                                      $50.00                  $50.00
 TIME AGO, PAID $150

 DODGE NEON 2001                                         11 U.S.C. § 522(d)(2)                                    $237.00               $1,550.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $33,474.00              $97,787.00
                   Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 14 of 45
B6D (Official Form 6D) (12/07)
          In re Jerome Oconnor                                                                                           Case No.
                 Olga Ortiz Oconnor                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT              ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    08/2015
ACCT #: xx8197                                                                    NATURE OF LIEN:
                                                                                  Secured
Atlas Credit Company I                                                            COLLATERAL:
                                                                                  HOUSEHOLD GOODS AND FURNISHINGS                                      $320.00               $70.00
8853 LONG POINT RD                                            C                   REMARKS:
HOUSTON, TX 77055



                                                                                  VALUE:                               $250.00
                                                                                  DATE INCURRED:    06/2015
ACCT #: xxxxxx0004                                                                NATURE OF LIEN:
                                                                                  Automobile
Cy-fair Federal Credit                                                            COLLATERAL:
                                                                                  DODGE NEON 2001                                                    $1,313.00
9601 Jones Road #100                                          C                   REMARKS:
Houston, TX 77269



                                                                                  VALUE:                             $1,550.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Household goods and furnishings
HORIZON FINANCE                                                                   COLLATERAL:
                                                                                  HOUSEHOLD GOODS                                                    $1,006.00             $756.00
4316 HIGHWAY 6 N                                              C                   REMARKS:
HOUSTON, TX 77084



                                                                                  VALUE:                               $250.00
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Household goods and furnishings
Regional Finance                                                                  COLLATERAL:
                                                                                  houehold goods and furnishings                                       $146.00
3719 N. FRY RD                                                C                   REMARKS:
KATY, TS 77449



                                                                                  VALUE:                               $250.00
                                                                                                         Subtotal (Total of this Page) >               $2,785.00             $826.00
                                                                                                        Total (Use only on last page) >
________________continuation
       1                     sheets attached                                                                                                     (Report also on    (If applicable,
                                                                                                                                                 Summary of         report also on
                                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 15 of 45
B6D (Official Form 6D) (12/07) - Cont.
          In re Jerome Oconnor                                                                                             Case No.
                 Olga Ortiz Oconnor                                                                                                                     (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                    UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                     CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                      DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                      WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                    DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                        VALUE OF
                                                                                               PROPERTY SUBJECT                                    COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #:                                                                             NATURE OF LIEN:
                                                                                    ReverseMortgage
RMS                                                                                 COLLATERAL:
                                                                                    RESIDENCE                                                         $63,000.00
2727 Spring Creek Drive                                         C                   REMARKS:
Spring, TX 77373



                                                                                    VALUE:                            $94,000.00
                                                                                    DATE INCURRED:    06/2015
ACCT #: xxxxxxx3301                                                                 NATURE OF LIEN:
                                                                                    Household goods and furnishings
World Finance                                                                       COLLATERAL:
                                                                                    HOUSEHOLD GOODS AND FURNISHING                                       $240.00
1923 GESSNER DR.                                                C                   REMARKS:
HOUSTON, TX 77080



                                                                                    VALUE:                               $250.00
                                                                                    DATE INCURRED:    06/2015
ACCT #: xxxxxxx4301                                                                 NATURE OF LIEN:
                                                                                    Secured
World Finance Corp                                                                  COLLATERAL:
                                                                                    HOUSEHOLD GOODS AND FURNISHINGS                                      $420.00            $170.00
1923 GESSNER R                                                  C                   REMARKS:
HOUSTON TX 77080



                                                                                    VALUE:                               $250.00




Sheet no. __________
               1       of __________
                                1     continuation sheets attached                                         Subtotal (Total of this Page) >             $63,660.00             $170.00
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >              $66,445.00              $996.00
                                                                                                                                                   (Report also on   (If applicable,
                                                                                                                                                   Summary of        report also on
                                                                                                                                                   Schedules.)       Statistical
                                                                                                                                                                     Summary of
                                                                                                                                                                     Certain Liabilities
                                                                                                                                                                     and Related
                                                                                                                                                                     Data.)
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 16 of 45
B6E (Official Form 6E) (04/13)

In re Jerome Oconnor                                                                              Case No.
      Olga Ortiz Oconnor                                                                                                    (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 17 of 45
B6E (Official Form 6E) (04/13) - Cont.
In re Jerome Oconnor                                                                                                      Case No.
      Olga Ortiz Oconnor                                                                                                                          (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED: 11/12/2015
                                                                                 CONSIDERATION:
Phillip Henry Trueba                                                             Attorney Fees                                        $3,825.00       $3,825.00        $0.00
2425 West Loop South, Ste 200                                                    REMARKS:
Houston, Texas 77027                                           C



ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Phillip Henry Trueba                                                             Attorney Fees- ALLOWANCE FEE                          $100.00          $100.00        $0.00
2425 West Loop South, Ste 200                                                    REMARKS:
Houston, Texas 77027                                           C




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $3,925.00       $3,925.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $3,925.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $3,925.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                   Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 18 of 45
B6F (Official Form 6F) (12/07)
  In re Jerome Oconnor                                                                                              Case No.
           Olga Ortiz Oconnor                                                                                                  (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxxxxxxxxx9437                                                                DATE INCURRED:   08/10/2010
                                                                                      CONSIDERATION:
Bbva Compass                                                                          Check Credit or Line of Credit                                      ($1.00)
2009 Beltline Parkway                                                                 REMARKS:
                                                                C
Decatur, AL 35603



ACCT #: xxxxxxxxxxxx0422                                                              DATE INCURRED:   10/2011
                                                                                      CONSIDERATION:
Capital One Bank Usa N                                                                Credit Card                                                        $492.00
15000 Capital One Dr                                                                  REMARKS:
                                                                C
Richmond, VA 23238



ACCT #: xxxxxxxx5429                                                                  DATE INCURRED:   10/1994
                                                                                      CONSIDERATION:
Chase Card                                                                            Credit Card                                                           $0.00
Po Box 15298                                                                          REMARKS:
                                                                C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxxx4863                                                              DATE INCURRED:   03/1966
                                                                                      CONSIDERATION:
Chase Card                                                                            Credit Card                                                           $0.00
201 N. Walnut St//de1-1027                                                            REMARKS:
                                                                C
Wilmington, DE 19801



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Check n Go                                                                            Payday Loan                                                       Unknown
7093 HWY 6 No.                                                                        REMARKS:
                                                                C
Houston, TX 77095



ACCT #: xxxxxxxxxx0599                                                                DATE INCURRED:   07/2010
                                                                                      CONSIDERATION:
Compass Bank Visa                                                                     Check Credit or Line of Credit                                   $17,267.00
2009 Beltline Parkway                                                                 REMARKS:
                                                                C
Decatur, AL 35603



                                                                                                                                 Subtotal >             $17,758.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       3                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 19 of 45
B6F (Official Form 6F) (12/07) - Cont.
  In re Jerome Oconnor                                                                                               Case No.
           Olga Ortiz Oconnor                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx0005                                                                        DATE INCURRED:   09/2015
                                                                                          CONSIDERATION:
Cy-fair Federal Credit                                                                    Unsecured                                                     $3,113.00
9601 Jones Road #100                                                                      REMARKS:
                                                                    C
Houston, TX 77269



ACCT #: xxxxxx0003                                                                        DATE INCURRED:   05/2015
                                                                                          CONSIDERATION:
Cy-fair Federal Credit                                                                    Unsecured                                                     $2,236.00
9601 Jones Road #100                                                                      REMARKS:
                                                                    C
Houston, TX 77269



ACCT #: xxxxxx0001                                                                        DATE INCURRED:   10/2014
                                                                                          CONSIDERATION:
Cy-fair Federal Credit                                                                    Unsecured                                                         $0.00
9601 Jones Road #100                                                                      REMARKS:
                                                                    C
Houston, TX 77269



ACCT #: xxxxxx0001                                                                        DATE INCURRED:   01/2010
                                                                                          CONSIDERATION:
Cy-fair Federal Credit                                                                    Unsecured                                                         $0.00
9601 Jones Road #100                                                                      REMARKS:
                                                                    C
Houston, TX 77269



ACCT #: xxxxxx0002                                                                        DATE INCURRED:   04/2015
                                                                                          CONSIDERATION:
Cy-fair Federal Credit                                                                    Unsecured                                                         $0.00
9601 Jones Road #100                                                                      REMARKS:
                                                                    C
Houston, TX 77269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
GBC Finance                                                                               unsecured loan                                                  $900.00
405 Main Ste 702                                                                          REMARKS:
                                                                    C
Houston, TX 77002-6191



Sheet no. __________
              1        of __________
                               3     continuation sheets attached to                                                              Subtotal >             $6,249.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 20 of 45
B6F (Official Form 6F) (12/07) - Cont.
  In re Jerome Oconnor                                                                                                  Case No.
           Olga Ortiz Oconnor                                                                                                      (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                   CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
guarantee Loan Service                                                                    Unsecured Debt                                                     $938.00
1943 Gessner                                                                              REMARKS:
                                                                    C
Houston, TX 77504



ACCT #: 2403                                                                              DATE INCURRED:   06/25/2015
                                                                                          CONSIDERATION:
HORIZON FINANCE                                                                           Note Loan                                                        $1,192.00
4316 Hwy 6 N                                                                              REMARKS:
                                                                    C
Houston, TX 77084



ACCT #: xxxxxxxx9428                                                                      DATE INCURRED:   06/2010
                                                                                          CONSIDERATION:
Jpm Chase                                                                                 Credit Line Secured                                                  $0.00
Po Box 24696                                                                              REMARKS:
                                                                    C
Columbus, OH 43224



ACCT #: xxxxxxxxxxxx0914                                                                  DATE INCURRED:   08/2005
                                                                                          CONSIDERATION:
Kohls/capone                                                                              Charge Account                                                       $0.00
N56 W 17000 Ridgewood Dr                                                                  REMARKS:
                                                                    C
Menomonee Falls, WI 53051



ACCT #: xxxx2287                                                                          DATE INCURRED:   12/1980
                                                                                          CONSIDERATION:
Midland Mtg/midfirst                                                                      FHA Real Estate Mortgage                                             $0.00
Pob 268959                                                                                REMARKS:
                                                                    C
Oklahoma City, OK 73126



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Regional Acceptance Corp.                                                                 Purchase Money                                                       $0.00
Bankruptcy Section                                                                        REMARKS:
                                                                    C
PO Box 1847
WIlson, NC 27894-1847

Sheet no. __________
              2        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $2,130.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 21 of 45
B6F (Official Form 6F) (12/07) - Cont.
  In re Jerome Oconnor                                                                                                  Case No.
           Olga Ortiz Oconnor                                                                                                      (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                   CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Regional Finance                                                                          Unsecured Debt                                                   Unknown
3719 N. FRY RD, STE O                                                                     REMARKS:
                                                                    C
KATY, TX 77449



ACCT #: xxxxxxxxx2844                                                                     DATE INCURRED:   11/24/1997
                                                                                          CONSIDERATION:
Syncb/care Credit                                                                         Charge Account                                                       $0.00
C/o Po Box 965036                                                                         REMARKS:
                                                                    C
Orlando, FL 32896



ACCT #: xxxxxxxxxxxx8767                                                                  DATE INCURRED:   03/17/1997
                                                                                          CONSIDERATION:
Syncb/mervyns                                                                             Charge Account                                                       $0.00
Po Box 965005                                                                             REMARKS:
                                                                    C
Orlando, FL 32896



ACCT #: xxxxxxxxxxxx9086                                                                  DATE INCURRED:   08/02/2007
                                                                                          CONSIDERATION:
Syncb/walmart                                                                             Charge Account                                                       $0.00
Po Box 965024                                                                             REMARKS:
                                                                    C
Orlando, FL 32896



ACCT #: xxxxxxxxxxxxxx8832                                                                DATE INCURRED:   08/29/2015
                                                                                          CONSIDERATION:
Texan Credit                                                                              Note Loan                                                          $836.00
10030 LONG POINT RD.                                                                      REMARKS:
                                                                    C
HOUSTON, TX 77055



ACCT #: xxxxxxxxxx0001                                                                    DATE INCURRED:   12/2014
                                                                                          CONSIDERATION:
Verizon Wireless                                                                          Unknown Loan Type                                                  $655.00
Po Box 49                                                                                 REMARKS:
                                                                    C
Lakeland, FL 33802



Sheet no. __________
              3        of __________
                               3     continuation sheets attached to                                                                 Subtotal >             $1,491.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $27,628.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 22 of 45
B6G (Official Form 6G) (12/07)
   In re Jerome Oconnor                                                                 Case No.
         Olga Ortiz Oconnor                                                                             (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 23 of 45
B6H (Official Form 6H) (12/07)
In re Jerome Oconnor                                                                               Case No.
      Olga Ortiz Oconnor                                                                                                   (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 24 of 45

 Fill in this information to identify your case:
     Debtor 1              Jerome                                      Oconnor
                           First Name           Middle Name            Last Name                         Check if this is:
     Debtor 2              Olga                 Ortiz                  Oconnor                                An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                              A supplement showing post-petition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                              chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                              MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                         Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                         Employed
      with information about                                          Not employed                                     Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                    Number Street
      applies.




                                                               City                       State   Zip Code      City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                          For Debtor 1            For Debtor 2 or
                                                                                                                  non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3. +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                $0.00                   $0.00




Official Form B 6I                                            Schedule I: Your Income                                                              page 1
                       Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 25 of 45
Debtor 1 Jerome                                                                    Oconnor                                            Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                     $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                     $0.00
     5e. Insurance                                                                                              5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                     $0.00
     5g. Union dues                                                                                             5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                     $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                     $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.               $0.00                       $0.00
     8e. Social Security                                                                                        8e.           $1,347.00                     $640.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify: IRONWORKER'S PENSION                                                                          8h. +            $120.00                       $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $1,467.00                     $640.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $1,467.00           +         $640.00       =       $2,107.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $2,107.00
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 26 of 45

 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jerome                                        Oconnor                             An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Olga                   Ortiz                  Oconnor
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                      $47.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.                     $142.00
      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.                      $21.00




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                    Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 27 of 45
Debtor 1 Jerome                                             Oconnor                     Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $130.00
     6b. Water, sewer, garbage collection                                                            6b.                    $65.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $45.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $745.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                     $75.00
10. Personal care products and services                                                              10.                    $60.00
11. Medical and dental expenses                                                                      11.                   $150.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $350.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $78.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.

     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                   $74.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.



 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
                   Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 28 of 45
Debtor 1 Jerome                                            Oconnor                            Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $1,982.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,107.00
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –   $1,982.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $125.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 29 of 45
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re Jerome Oconnor                                                              Case No.
         Olga Ortiz Oconnor
                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                 $94,000.00


 B - Personal Property                            Yes      4                  $3,787.00


 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      2                                           $66,445.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                            $3,925.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      4                                           $27,628.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      2                                                                 $2,107.00
     Individual Debtor(s)
 J - Current Expenditures of                      Yes      3                                                                 $1,982.00
    Individual Debtor(s)

                                             TOTAL         21                $97,787.00                $97,998.00
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 30 of 45
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re Jerome Oconnor                                                               Case No.
         Olga Ortiz Oconnor
                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $2,107.00

 Average Expenses (from Schedule J, Line 22)                                   $1,982.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                            $120.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $996.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $3,925.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                  $0.00

 4. Total from Schedule F                                                                           $27,628.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $28,624.00
                   Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 31 of 45
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Jerome Oconnor                                                                   Case No.
      Olga Ortiz Oconnor                                                                                     (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 23
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 11/16/2015                                              Signature    /s/ Jerome Oconnor
                                                                         Jerome Oconnor

Date 11/16/2015                                              Signature     /s/ Olga Ortiz Oconnor
                                                                          Olga Ortiz Oconnor
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 32 of 45
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                           Case No.
            Olga Ortiz Oconnor                                                                                               (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $23,177.00                  2015 APPROXIMATE YEAR TO DATE SOCIAL SECURITY INCOME AND PENSION
                                    (JOINTLY(

        $18,334.80                  2014 DEBTOR SOCIAL SECURITY ($17134.80 + $1,200 PENSION)

        $8,782.80                   2014 JOINT DEBTOR SOCIAL SECURITY INCOME

        $18,070.00                  2013 SOCIAL SECURITY AND PENSION

        $8,662.80                   2013 JOINT DEBTOR

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 33 of 45
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                        Case No.
            Olga Ortiz Oconnor                                                                                            (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Phillip Henry Trueba                                         11/12/2015                       $0.00
        2425 West Loop South, Ste 200
        Houston, Texas 77027

        Access Counseling                                            NOVEMBER 2015                    $15
        633 W. 5th Street, Ste 26001
        Los Angeles, CA 90071
        Attorney code
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 34 of 45
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                         Case No.
            Olga Ortiz Oconnor                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 35 of 45
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                          Case No.
            Olga Ortiz Oconnor                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 36 of 45
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                            Case No.
            Olga Ortiz Oconnor                                                                                                 (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.
                      Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 37 of 45
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   Jerome Oconnor                                                                            Case No.
            Olga Ortiz Oconnor                                                                                                (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 11/16/2015                                                         Signature          /s/ Jerome Oconnor
                                                                        of Debtor          Jerome Oconnor

Date 11/16/2015                                                         Signature       /s/ Olga Ortiz Oconnor
                                                                        of Joint Debtor Olga Ortiz Oconnor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                   Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 38 of 45
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
IN RE:     Jerome Oconnor                                                                 CASE NO
           Olga Ortiz Oconnor
                                                                                         CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                Fixed Fee:         $3,825.00
     Prior to the filing of this statement I have received:                                            $0.00
     Balance Due:                                                                                   $3,825.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      11/16/2015                              /s/ Phillip H. Trueba
                         Date                                 Phillip H. Trueba                          Bar No. 24005582
                                                              Phillip Henry Trueba
                                                              2425 West Loop South, Ste 200
                                                              Houston, Texas 77027
                                                              Phone: (713) 297-9103 / Fax: (713) 297-9104




      /s/ Jerome Oconnor                                                   /s/ Olga Ortiz Oconnor
     Jerome Oconnor                                                       Olga Ortiz Oconnor
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 39 of 45
                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Jerome Oconnor                                                          CASE NO
           Olga Ortiz Oconnor
                                                                                   CHAPTER     13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/16/2015                                          Signature    /s/ Jerome Oconnor
                                                                     Jerome Oconnor



Date 11/16/2015                                          Signature    /s/ Olga Ortiz Oconnor
                                                                     Olga Ortiz Oconnor
Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 40 of 45



                 Atlas Credit Company I
                 8853 LONG POINT RD
                 HOUSTON, TX 77055



                 Bbva Compass
                 2009 Beltline Parkway
                 Decatur, AL 35603



                 Capital One Bank Usa N
                 15000 Capital One Dr
                 Richmond, VA 23238



                 Chase Card
                 Po Box 15298
                 Wilmington, DE 19850



                 Chase Card
                 201 N. Walnut St//de1-1027
                 Wilmington, DE 19801



                 Check n Go
                 7093 HWY 6 No.
                 Houston, TX 77095



                 Compass Bank Visa
                 2009 Beltline Parkway
                 Decatur, AL 35603



                 Cy-fair Federal Credit
                 9601 Jones Road #100
                 Houston, TX 77269



                 GBC Finance
                 405 Main Ste 702
                 Houston, TX 77002-6191
Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 41 of 45



                 guarantee Loan Service
                 1943 Gessner
                 Houston, TX 77504



                 HORIZON FINANCE
                 4316 Hwy 6 N
                 Houston, TX 77084



                 HORIZON FINANCE
                 4316 HIGHWAY 6 N
                 HOUSTON, TX 77084



                 Jpm Chase
                 Po Box 24696
                 Columbus, OH 43224



                 Kohls/capone
                 N56 W 17000 Ridgewood Dr
                 Menomonee Falls, WI 53051



                 Midland Mtg/midfirst
                 Pob 268959
                 Oklahoma City, OK 73126



                 Phillip Henry Trueba
                 2425 West Loop South, Ste 200
                 Houston, Texas 77027



                 Regional Acceptance Corp.
                 Bankruptcy Section
                 PO Box 1847
                 WIlson, NC 27894-1847


                 Regional Finance
                 3719 N. FRY RD
                 KATY, TS 77449
Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 42 of 45



                 Regional Finance
                 3719 N. FRY RD, STE O
                 KATY, TX 77449



                 RMS
                 2727 Spring Creek Drive
                 Spring, TX 77373



                 Syncb/care Credit
                 C/o Po Box 965036
                 Orlando, FL 32896



                 Syncb/mervyns
                 Po Box 965005
                 Orlando, FL 32896



                 Syncb/walmart
                 Po Box 965024
                 Orlando, FL 32896



                 Texan Credit
                 10030 LONG POINT RD.
                 HOUSTON, TX 77055



                 Verizon Wireless
                 Po Box 49
                 Lakeland, FL 33802



                 World Finance
                 1923 GESSNER DR.
                 HOUSTON, TX 77080



                 World Finance Corp
                 1923 GESSNER R
                 HOUSTON TX 77080
                  Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 43 of 45

 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1             Jerome                                     Oconnor                     According to the calculations required by this
                      First Name             Middle Name         Last Name                   Statement:

 Debtor 2            Olga                    Ortiz               Oconnor                        1. Disposable income is not determined
 (Spouse, if filing) First Name              Middle Name         Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 22C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/14
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00                $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                      $0.00                $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                              $0.00
     Ordinary and necessary operating expenses               –           $0.00
                                                                                 Copy
     Net monthly income from a business, profession, or farm             $0.00 here               $0.00                $0.00


6.   Net income from rental and other real property
     Gross receipts (before all deductions)                              $0.00
     Ordinary and necessary operating expenses               –           $0.00
                                                                                 Copy
     Net monthly income from rental or other real property               $0.00 here               $0.00                $0.00


7.   Interest, dividends, and royalties                                                           $0.00                $0.00


Official Form 22C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                   page 1
                         Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 44 of 45
Debtor 1          Jerome                                                             Oconnor                                            Case number (if known)
                  First Name                       Middle Name                       Last Name


                                                                                                                                             Column A                   Column B
                                                                                                                                             Debtor 1                   Debtor 2 or
                                                                                                                                                                        non-filing spouse

8.    Unemployment compensation                                                                                                                         $0.00                           $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                        $1,347.00
          For you............................................................................................................................
                                                                                                     $640.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $120.00                              $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

          10a.

          10b.

          10c. Total amounts from separate pages, if any.                                                                             +                               +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                        $120.00           +                  $0.00         =            $120.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                        Total average
                                                                                                                                                                                                        monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                            $120.00
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 in line 13d.
             You are married and your spouse is filing with you. Fill in 0 in line 13d.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.

             In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 on line 13d.

             13a.
             13b.
             13c.                                                                                                     +
             13d. Total......................................................................................................................                Copy
                                                                                                                                                                .........................
                                                                                                                                                                    here.                 13d. –


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                14.                $120.00

15. Calculate your current monthly income for the year. Follow these steps:

      15a.     Copy line 14 here                                                                                                                                                                                    $120.00
                                                   ...................................................................................................................................................................................
                                                                                                                                                                                                15a.

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   X         12

      15b.     The result is your current monthly income for the year for this part of the form.                                                                                                15b.            $1,440.00




Official Form 22C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 2
                     Case 15-36034 Document 1 Filed in TXSB on 11/16/15 Page 45 of 45
Debtor 1      Jerome                                                          Oconnor                                          Case number (if known)
              First Name                      Middle Name                     Last Name


16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                      Texas

    16b.    Fill in the number of people in your household.                                                2

    16c.                                                                                                                                                             $59,296.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                       16c.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that
                   form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                   $120.00
                                                                                          ..............................................................................................................................................
                                                                                                                                                                                       18.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13d.

    If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                 19a. –

    Subtract line 19a from line 18.                                                                                                                                                  19b.                 $120.00

20. Calculate your current monthly income for the year. Follow these steps:

    20a.                                                                                                                                                                                                $120.00
            Copy line 19b ...................................................................................................................................................................................
                                                                                                                                                                                     20a.

            Multiply by 12 (the number of months in a year).                                                                                                                                      X         12

    20b.    The result is your current monthly income for the year for this part of the form.                                                                                          20b.            $1,440.00

    20c.                                                                                                                                                 $59,296.00
            Copy the median family income for your state and size of household from line 16c. ...........................................................................................................
                                                                                                                                           20c.

21. How do the lines compare?

           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X      /s/ Jerome Oconnor                                                                               X       /s/ Olga Ortiz Oconnor
           Jerome Oconnor                                                                                           Olga Ortiz Oconnor

        Date 11/16/2015                                                                                           Date 11/16/2015
             MM / DD / YYYY                                                                                            MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 22C-2.

    If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 22C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                  page 3
